
STRAUB, Circuit Judge, filed opinion concurring in part and dissenting in part.
MINER, Circuit Judge:
Plaintiff-appellant Dorrit Matson appeals from a judgment entered in the United States District Court for the Southern District of New York (Crotty, /.), dismissing, pursuant to Federal Rule of Civil Procedure 12(b)(6), her civil rights action, brought under 42 U.S.C. § 1983, against defendants-appellees, the Board of Education of the City School District of New York (the “BOE”), the City of New York (the “City”), and Richard J. Condon (collectively, the “defendants”). In the action, Matson alleged that the BOE had publicly disclosed that she suffers from fibromyalgia, in violation of her constitutional right to privacy. The disclosure occurred when, in connection with an investigation of her purported use of sick leave, the BOE made available to the public on the website of the Special Commissioner of Investigation for the New York City School District (“SCI”) a report that included Matson’s medical condition. On appeal, Matson claims: (1) the District Court erred in concluding that she failed to establish that the defendants’ disclosure of her medical condition implicated a protected privacy interest; (2) the District Court incorrectly found the BOE to be an improper party; and (3) the District Judge should have recused himself, pursuant to 28 U.S.C. § 455.
For the reasons that follow, we affirm. BACKGROUND
I. Matson as Teacher and Conductor
Matson was employed as a music teacher at Bayard Rustin Educational Complex (“Bayard Rustin”), a Manhattan public school. She also founded and serves as director and conductor of the New York Scandia Symphony (the “Scandia Symphony”), an orchestra based at Trinity Church in lower Manhattan. Beginning in at least 2003 and continuing through February 2005, Matson began taking sick leave from her duties as a music teacher. Her multiple requests for sick days did not go unnoticed by Bayard Rustin’s administration.
In November 2004, after Matson had requested three days of sick leave, Bayard Rustin’s principal, John Angelet, reminded Matson by telephone that she was scheduled to direct a school orchestra concert that week. Matson nonetheless insisted that she needed the sick leave and that she would have to miss the school orchestra concert because she was ill. She subsequently took the sick leave that she had requested. After Matson returned to school, Angelet confronted her. He stated that he knew Matson had conducted the *59Scandia Symphony’s concert while on sick leave because he had heard the performance broadcast on public radio. Matson, in response, “after a period of silence ... asked the principal to deduct the days from her pay and then inquired whether Angelet ‘knew what it was like to conduct a concert ill.’ ”
In January 2005, Matson was away from school on authorized medical leave for “continued therapy for recurrent bacteria infection.” During her absence, Angelet filed a complaint with the DOE’s legal department, accusing her of “theft of services.” An assistant principal at Bayard Rustin also took action, informing Condon, the SCI, that he suspected that Matson was improperly claiming sick leave in order to work as a conductor of a symphony orchestra at Trinity Church. Condon subsequently began an investigation.
In February 2005, Matson submitted an Application for Leave Without Pay for Restoration of Health (the “Application”), which was marked as confidential. Her Application was granted for a period from February 5, 2005, through June 30, 2005, and “was approved by the principal based on the physician’s certification section completed by an unnamed doctor with an illegible signature.” According to the physician’s certification, Matson suffered from fibromyalgia, which involves “neck, shoulders, and upper and lower back pain.”1
After Matson submitted her Application, SCI investigators visited the office of the physician whose address was listed on the certification and spoke with the office manager for Dr. Tsai Chung Chao, who had completed the physician’s certification for Matson’s request for leave. Chao verified that the signature on the physician’s certification was his. Chao later spoke to one of Condon’s investigators by telephone and explained that Matson suffered from fibromyalgia, a condition brought on by physical or emotional stress. He added that Matson had complained that her professional relationship with school administrators was strained and caused her stress. Chao informed the investigator that Mat-son needed time off from her DOE position but explained that she could be able to conduct an orchestra — even though she was suffering from fibromyalgia — because she would be away from the environment which caused the stress that resulted in the onset of her condition.
Following his investigation, Condon issued a letter report on August 16, 2005, (the “Report”) to then New York City School District Chancellor Joel I. Klein confirming that Matson had repeatedly taken paid sick leave on days when she conducted the New York Scandia Symphony at Trinity Church. The Report verified Angelet’s claim that Matson conducted the Scandia Symphony on November 18, 2004, while away from school on sick leave and detailed a number of other occasions over a period of two years from 2003 to 2005 where Matson claimed paid sick leave on days when she either rehearsed or conducted the Scandia Symphony. It also noted that according to the Operations Manager for Trinity Concerts, Matson *60“never missed a rehearsal or a performance” of the Scandia Symphony.
The specific references in the Report to fibromyalgia included the following:
Dr. Chao explained that Matson suffered from chronic fatigue syndrome, known as fibromyalsia [sic]. He added that the teacher’s condition was brought on by physical or emotional stress and that Matson had complained that her professional relationship with school administrators was strained and caused her stress. The physician informed the investigator that Matson needed time off from her DOE position and that the pain caused by fibromyalsia [sic] could take months to subside. According to Dr. Chao, Matson could be able to conduct an orchestra with fibromyalsia [sic] because she would be away from the environment which caused her the stress that resulted in the onset of the condition.
Based on Condon’s investigation, the Report concluded that Matson abused the DOE’s sick leave policy. Accordingly, it recommended that Matson’s employment be terminated and that she be directed to repay any salary to which she was not entitled. Disciplinary charges later were lodged against Matson.
The SCI publicly issued its report, in accordance with its specific authority to issue reports of investigations where it would be in the best interest of the school district. See The Special Comm’r of Investigation for the New York City Sch. Dist., Exec. Order No. 11 (June 28, 1990), available at http://www.nycsci.org/pubhc/ Executive% 20Order.pdf (giving the Deputy Commissioner authority to “issue such reports regarding corruption or other criminal activity, unethical conduct, conflicts of interest, and misconduct, that he or she deems to be in the best interest of the school district”). The Report was made available to the public on the SCI’s internet website in August 2005, and the investigation and the Report were covered by the local press.2
On August 22, 2005, while disciplinary charges were pending, Matson was involved in a car accident, suffering a cervical sprain and injuries to her back and shoulders. Apparently, she continued on unpaid medical leave after her accident, following a January 10, 2006 determination by the DOE that she was “not fit” to return to work. In March 2006, Matson applied for disability retirement. With her application, she submitted a medical report of Dr. Daniel J. Powsner, who concluded that
Matson is suffering from psychiatric illness, post-traumatic stress disorder, which is likely to remain chronic.... Recovery from this illness is not to be expected in the foreseeable future. This illness has rendered her unable to pursue her occupation as a teacher. I do not believe that any type of accommodations that could be made at her place of employment would improve her ability to work. She is totally and permanently disabled from her occupation as a teacher.
Powsner’s ultimate diagnosis was “Posh-Traumatic Stress Disorder.”
The record before us does not reveal how Matson’s employment with the school district ultimately came to an end. Apparently a disciplinary hearing had been scheduled but was terminated as indicated by an October 18, 2006 intra-departmental memorandum, which stated: “Please be *61advised that the Dorrit Matson disciplinary hearing has been resolved. As a result the DOE is withdrawing the charges previously preferred against Ms. Matson. Please adjust your records accordingly.” There is no indication from the parties or the record as to the disposition of Matson’s disability retirement application following Powsner’s report or as to why, according to DOE attorney Susan Jalowski, Matson’s “disciplinary hearing ha[d] been resolved.”
II. Proceedings in the District Court
On August 14, 2008, Matson commenced this action by filing a complaint against the defendants in the United States District Court for the Southern District of New York. In her complaint, she asserted a claim under 42 U.S.C. § 1983 and alleged that her constitutional privacy rights had been violated. Matson contended that her medical condition of fibromyalgia improperly was disclosed to the public through the Report, published on the SCI’s website, and later reported in New York City area newspapers. However, she neither challenged the SCI’s finding that she abused sick leave nor its recommendation that she be terminated. Nor did she suggest that her medical condition was a disability that would need to be accommodated. Matson sought $2 million for damages plus attorney’s fees.
On January 16, 2008, the defendants filed a motion to dismiss Matson’s complaint for failure to state a claim upon which relief can be granted, pursuant to Federal Rule of Civil Procedure 12(b)(6). Matson submitted two affidavits in opposition to the defendants’ motion to dismiss. In her affidavit, she alleged that the disclosure of her medical information
has affected my ability to seek other employment, as potential employers, when “googling” my name learn that I suffer from various ailments.... It has led to a belief that I am “unreliable” or “undependable”, that I would be absent, without adequate notice, thereby effecting [sic] the ability of an orchestra to perform up to expectations.
Matson v. Bd. of Educ. of the City School District of the City of N.Y., No. 08 Civ. 7232(PAC), 2009 WL 2462513, at *2 n. 4 (S.D.N.Y. Aug.7, 2009) (internal quotation marks omitted). An additional affidavit submitted by Andrew Ackers, a colleague of Matson’s in the music industry, claimed that “[t]he public dissemination of [Mat-son’s] medical condition has a severe impact upon [Matson] and the perception of the music world regarding [Matson] and possible employment.... The perception is that [Matson], suffering from fibromyalgia and/or chronic fatigue syndrome would be unreliable and undependable.... ” Id. (internal quotation marks omitted).
In a Memorandum Order dated August 7, 2009, the District Court granted the defendants’ motion to dismiss the complaint. Id. at *4. The court also rejected the affidavits submitted by Matson and Ackers, finding that each contained new factual allegations that were not set forth in the complaint and, thus, were not properly before the court for its consideration. It stated that in any event the “factual allegations [were] wholly conclusory and speculative.” Id. at *2 n. 4. Moreover, the court found that
to the extent the Report might lead potential future employers to view Mat-son as unreliable or undependable, this would not be due to Matson’s fibromyalgia — instead, it would be because the Report concludes that Matson shirked her work responsibilities at her full-time job by claiming sick leave in order to do work she preferred.

Id.

The complaint’s reference to the Condon Report enabled the court to consider the *62Report’s contents. Id. at *1 n. 2 (“The facts contained in this Memorandum Order are drawn not only from the Complaint but also from the Report, which is integral to the Complaint and upon which the Complaint relies.” (citing Subaru Distribs. Corp. v. Subaru of Am., Inc., 425 F.3d 119, 122 (2d Cir.2005) (“[On a motion to dismiss], the court may consider any written instrument attached to the complaint as an exhibit or incorporated in the complaint by reference, as well as documents upon which the complaint relies and which are integral to the complaint.”))).
The court ultimately concluded that neither fibromyalgia nor a bacterial infection is a condition that gives rise to a constitutionally-protected privacy right. Unlike the serious medical conditions that courts have recognized as giving rise to a privacy right, the District Court found that “[b]oth of Matson’s disclosed conditions are a far cry from the level of seriousness associated with HTV/AIDS [and] transsexualism .... ” Id. at *3. With regard to any purported exposure to discrimination resulting from the publication of Matson’s medical condition, the District Court found that “Matson cannot point to any history of discrimination against individuals with fibromyalgia that would lead the [c]ourt to conclude that she is likely to face discrimination, hostility, or intolerance because of her condition.” Id. In addition, the court found that Matson had not alleged that the public disclosure of her medical conditions exposed her to “discrimination, hostility, or intolerance.”3 Id. Judgment was entered on September 25, 2009, and this timely appeal followed.
On appeal, Matson argues that the District Court erred in dismissing her complaint for failing to establish that the defendants’ disclosure of her medical condition implicated a constitutionally-protected privacy interest. Specifically, Matson claims that her situation is different from that of individuals who have diminished levels of privacy, such as prisoners and those whose medical information was necessarily disclosed during a judicial hearing or as part of a public record. Instead, she argues that she has set forth a viable cause of action because private medical information was disseminated, without her permission, and that that information has exposed her to unfair discrimination.
Matson also argues that the District Court improperly dismissed the BOE as a defendant in this action when it concluded that the “BOE ceased to be the agency responsible for New York City’s public schools before the incidents giving rise to the Complaint occurred.” Matson, 2009 WL 2462513, at * 1 n. 1. She contends that recent state case law holds that the BOE remains a separate entity — though now renamed the Department of Education — that must be sued in its own name and apart from the City.4 Matson also argues on appeal, for the first time, that *63the District Judge was required, sua sponte, to recuse himself from this case. Matson argues that recusal was appropriate because the Judge was previously associated with the defendants in his capacity as the Commissioner of several New York City agencies and as Corporation Counsel for the City of New York. Matson also claims that the employment of the District Judge’s niece by the defendants requires the Judge’s recusal pursuant to 28 U.S.C. § 455.5
ANALYSIS
I. Standard of Review
“We review de novo a district court’s grant of a motion to dismiss pursuant to Rule 12(b)(6), accepting all factual allegations in the complaint as true and drawing all inferences in the plaintiffs favor.” Legnani v. Alitalia Linee Aeree Italiane, S.P.A, 274 F.3d 683, 685 (2d Cir.2001). We will “affirm only if it appears beyond doubt that the plaintiff can prove no set of facts in support of [her] claim which would entitle [her] to relief.” Id. (internal citations omitted). “Where the complaint involves a civil rights violation, as it does here, the standard is to be applied with particular strictness.” Doe v. City of New York, 15 F.3d 264, 266 (2d Cir.1994) (internal quotation marks omitted).
“For the purpose of such review, this Court must accept as true all allegations in the complaint and draw all reasonable inferences in favor of the non-moving party.” Connecticut v. Am. Elec. Rawer Co., 582 F.3d 309, 320 (2d Cir.2009) (internal quotation marks omitted). The plaintiffs complaint must, however, “contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’ ” Ashcroft v. Iqbal, —— U.S. -, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009) (quoting Bell Atl. Corp.v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)); accord Ruston v. Town Bd. for Town of Skaneateles, 610 F.3d 55, 59 (2d Cir.2010). A claim is plausible “when the plaintiff pleads factual content that allows the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 129 S.Ct. at 1949. While a complaint need not contain “detailed factual allegations,” it requires “more than an unadorned, the defendant-unlawfully-harmed-me accusation.” Id. (internal quotation marks omitted); accord DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104, 111 (2d Cir.2010).
II. The Constitutional Right to Privacy for Medical Conditions
Matson’s privacy claim presents the question: does the Constitution protect Matson’s right to maintain the confidentiality of her fibromyalgia? As a general matter, “there exists in the United States Constitution a right to privacy protecting ‘the individual interest in avoiding disclosure of personal matters.’ ” Doe, 15 F.3d at 267 (quoting Whalen v. Roe, 429 U.S. 589, 599, 97 S.Ct. 869, 51 L.Ed.2d 64 (1977)). “More precisely, this right to pri*64vacy can be characterized as a right to ‘confidentiality,’ ” which “includes the right to protection regarding information about the state of one’s health.” Doe, 15 F.3d at 267; accord United States v. Westinghouse Elec. Corp., 638 F.2d 570, 577 (3d Cir.1980) (recognizing that “[i]nformation about one’s body and state of health is matter which the individual is ordinarily entitled to retain within the private enclave where he may lead a private life.” (internal quotation marks omitted)). This constitutional right to privacy extends in a limited way to prisoners as well. See Powell v. Schriver, 175 F.3d 107, 112 (2d Cir.1999) (“[I]nmates retain those constitutional rights that are not inconsistent with their status as prisoners or with the legitimate penological objectives of the corrections system.” (internal quotation marks and alterations omitted)).
Our case law makes clear, however, that “the interest in the privacy of medical information will vary with the condition.” Powell, 175 F.3d at 111; accord Doe, 15 F.3d at 267 (noting that a constitutional right to privacy for some diseases is greater than for others because while “there are few matters that are quite so personal as the status of one’s health, and few matters the dissemination of which one would prefer to maintain greater control over,” this is “especially true with regard to those infected with HIV or living with AIDS” (emphasis added)). Confidential medical conditions are those that are “exeruciatingly private and intimate [in] nature” such as those “likely to provoke ... an intense desire to preserve one’s medical confidentiality.” Powell, 175 F.3d at 111. We have concluded that such a privacy right exists with respect to a person’s HIV status, Doe, 15 F.3d at 266-67, and transsexualism, Powell, 175 F.3d at 110-12.
In Doe, we explained that, as with any “serious medical condition,” “an individual’s choice to inform others that she has contracted what is at this point invariably and sadly a fatal, incurable disease [ (HIV/ AIDS) ] is one that she should normally be allowed to make for herself.” 15 F.3d at 267 (emphasis supplied).6 We reasoned that this is “especially true with regard to those infected with HIV or living with AIDS, considering the unfortunately unfeeling attitude among many in this society toward those coping with the disease.” Id. In particular, we considered that “[a]n individual revealing that she is HIV seropositive potentially exposes herself not to understanding or compassion but to discrimination and intolerance.” Id.
In Powell, we applied our rationale in Doe and determined that “[l]ike HIV status as described in Doe, transsexualism is [an] unusual condition that is likely to provoke both an intense desire to preserve one’s medical confidentiality, as well as hostility and intolerance from others.” Powell, 175 F.3d at 111. We also found that “[t]he excruciatingly private and inti*65mate nature of transsexualism, for persons who wish to preserve privacy in the matter, is really beyond debate.” Id. In extending the constitutional right of privacy to cover transsexualism, we recognized the “narrow parameters” in which such a right exists. Id. at 112.
III. Fibromyalgia and Privacy
Matson contends that fibromyalgia is a “serious medical condition” that falls within the ambit of constitutionally-protected privacy. We do not doubt the medical seriousness of the condition. Indeed, we have held within the context of reviewing the denial of a social security disability application that “a growing number of courts, including our own, have recognized that fibromyalgia is a disabling impairment,” although “‘there are no objective tests which can conclusively confirm the disease.’ ” Green-Younger v. Barnhart, 335 F.3d 99, 108 (2d Cir.2003) (quoting Preston v. Sec’y of Health and Human Servs., 854 F.2d 815, 818 (6th Cir.1988)); see also Lisa v. Sec’y of Dep’t of Health and Human Servs., 940 F.2d 40, 41 (2d Cir.1991) (ordering the district court to remand the case to the Secretary for consideration of new medical evidence regarding fibromyalgia). We have also recognized that, properly alleged, “claims [of CFS/fibromyalgia] are unquestionably sufficient to plead a disability for purposes of Section 504/ADA.” Weixel v. Bd. of Educ. of the City of N.Y., 287 F.3d 138, 147 (2d Cir.2002).
A general medical determination or acknowledgment that a disease is serious does not give rise ipso facto to a constitutionally-protected privacy right. In Doe, we explained that HIV is “sadly a fatal, incurable disease.” 15 F.3d at 267. Our reasoning in Powell with regard to transsexualism differed, as we approached the condition as a psychiatric disorder. There, we explained that transsexualism is a “gender identity disorder, the sufferers of which believe that they are ‘cruelly imprisoned within a body incompatible with their real gender identity,’ ” and we further recognized that transsexualism is a “profound psychiatric disorder.” Powell, 175 F.3d 107, 111 (citing Farmer v. Moritsugu, 163 F.3d 610, 611 (D.C.Cir.1998) (per curiam)) (quoting The Merck Manual of Med. Info. 418 (1997); Maggert v. Hanks, 131 F.3d 670, 671 (7th Cir.1997)). Fibromyalgia, however serious, is neither alleged to be fatal, as we recognized the HIV condition to be in Doe, nor is it a “profound psychiatric disorder” as we noted in Powell. While fibromyalgia is characterized by fatigue and muscular soreness and tenderness, we have noted that it can be debilitating only in certain instances. Green-Younger, 335 F.3d at 104.
Other courts in our Circuit have declined to extend the right of privacy to medical conditions other than those discussed in the cases noted above. See, e.g., Watson v. Wright, 2010 WL 55932, at * 1 (N.D.N.Y. Jan.5, 2010) (“This [cjourt finds no basis in Powell and its progeny for holding that, in a prison setting, plaintiffs Hepatitis C condition is the type of condition that gives rise to constitutional protection under Powell.”)-, Rush v. Artuz, 2004 WL 1770064 (S.D.N.Y. Aug.6, 2004) (“First, plaintiffs wrist injury and his stomach problems cannot be classified as ‘personal matters of a sensitive nature’ and second, due to his use of a splint, plaintiffs wrist injury was clearly visible to all those around him.”).
Matson argues that our decision in O’Connor v. Pierson, 426 F.3d 187 (2d Cir.2005), announced a rule that would protect all medical conditions from disclosure. We reject Matson’s reading of O’Connor. In O’Connor, the plaintiff school teacher was first placed on adminis*66trative leave pending an investigation of complaints against him by students and other teachers. Then, the teacher was placed on involuntary sick leave when he refused to submit to an independent psychiatric examination and refused to release his past medical records. Id. at 191, 193. The teacher took issue with the conditions required for returning to work and commenced an action arguing that the school board “violated his privacy rights by insisting that he sign a broad medical-records release form.” Id. at 201.
Citing Doe and Powell, we held in O’Connor that the plaintiff “had a protected privacy right in the medical records sought by the Board.” Id. We reasoned that “[m]edieal information in general, and information about a person’s psychiatric health and substance-abuse history in particular, is information of the most intimate kind.” Id. Also, this combination of medical conditions is one that is likely to bring about public opprobrium. See, e.g., Wisconsin v. Constantineau, 400 U.S. 433, 437, 91 S.Ct. 507, 27 L.Ed.2d 515 (1971) (holding that a law permitting a list to be posted in retail liquor outlets of those individuals who become dangerous after drinking “may to some be merely the mark of illness, [but] to others it is a stigma, an official branding of a person”); Barbara A. Weiner, Confidentiality of Mental Health Records, 1 Health L. Prac. Guide § 17:30 (2010) (“Although people are much more open about discussing their medical problems than in the past, there is still a stigma attached to having a mental illness.”); cf. Rodriguez v. City of New York, 72 F.3d 1051, 1065 (2d Cir.1995) (noting that “an erroneous commitment [in a psychiatric hospital] may result not only in an unwarranted deprivation of liberty but also in the unwarranted stigma of being la-belled mentally ill by the state” (internal quotation marks omitted)).
In addition, our determination that an individual need not disclose all of his medical records under the circumstances described in O’Connor does not suggest that a third party’s disclosure of one particular medical condition in every case violates the right of privacy. Indeed, the “privacy of certain medical conditions” has been “constitutionalized” only “[w]ithin narrow parameters.” Powell, 175 F.3d at 112.
These narrow parameters have been defined, in large part, through the views of society. Historically, courts have considered on a case-by-case basis whether a disease was “contagious ... or attributed in any way to socially repugnant conduct” and whether it could be said that “society as a whole views [the disease] as directly associated with any disease which might conceivably be characterized as loathsome.” See Golub v. Enquirer/Star Group, Inc., 89 N.Y.2d 1074, 1077, 659 N.Y.S.2d 836, 681 N.E.2d 1282 (1997) (holding that cancer did not fit into the category of a loathsome disease) (internal quotation marks omitted). Such inquiry typically helped determine whether a party could be charged with slander per se for falsely accusing someone of having the disease. See, e.g., Cruz v. Latin News Impacto Newspaper, 216 A.D.2d 50, 627 N.Y.S.2d 388, 389 (1995) (stating that “there is no authority for classifying [tuberculosis] among the diseases among which false imputations are defamatory”); Simpson v. Press Pub. Co., 33 Misc. 228, 67 N.Y.S. 401, 402 (N.Y.Sup.Ct.1990) (holding that “[t]o falsely say of one that he has leprosy is slander”).
In considering claims that a constitutional right of privacy attaches to various serious medical conditions, we also proceed on a case-by-case basis. In doing so, we examine all the relevant factors that cut both in favor of and against extending privacy *67protection to such medical conditions. This type of analysis necessarily will include certain medical conditions but will exclude others. Here, although fibromyalgia is a serious medical condition, it does not carry with it the sort of opprobrium that confers upon those who suffer from it a constitutional right of privacy as to that medical condition. Cf. Makas v. Miraglia, Nos. 05 Civ. 7180(DAB)(FM), 06 Civ. 14305(DAB)(FM), 2007 WL 724603, at *17 (S.D.N.Y. Mar. 5, 2007), vacated in part on other grounds by Makas v. Miraglia, 300 Fed.Appx. 9 (2d Cir.2008) (summary order) (“[W]hile a patient’s cholesterol or thyroid level also constitutes personal medical information, its disclosure obviously does not cany with it the same potential for adverse effects as the disclosure of information about a sexually-transmitted disease or transsexualism.”).
In addition to a determination that a medical condition is “serious,” we have also focused our constitutional analysis on whether revealing one’s condition would expose a person “not to understanding or compassion but to discrimination and intolerance.” See Doe, 15 F.3d at 267 (emphasis supplied). Thus in Doe, we determined that society has an “unfortunately unfeeling attitude ... toward those coping with [HIV or living with AIDS].” Id. Likewise in Powell, we explained that “[individuals who have chosen to abandon one gender in favor of another understandably might desire to conduct their affairs as if such a transition was never necessary. ... [Transsexualism] is likely to provoke both an intense desire to preserve one’s medical confidentiality, as well as hostility and intolerance from others.” Powell, 175 F.3d at 111.
Here, we discern no evidence in the record revealing societal discrimination and intolerance against those suffering from fibromyalgia. Matson cites to one case from the District of Massachusetts, which found that “many people diagnosed with fibromyalgia are unable to maintain gainful employment.” LaBrecque v. Sodexho USA, Inc., 287 F.Supp.2d 100, 103 (D.Mass.2003) (finding that the plaintiffs fibromyalgia rendered her physically impaired and holding that a reasonable jury could conclude that she properly made out a claim against her former employer for failing to accommodate her disability). But this case does not support the proposition, as contended by Matson, that one who is unable to maintain gainful employment because of fibromyalgia, is the subject of discrimination, hostility, or intolerance.7 We agree with the district court that concluded (albeit in a different context) that “there is no evidence in the record that a social stigma is attached to Plaintiffs medical conditions [including fibromyalgia] in the same manner that one is attached to other medical conditions, such as AIDS.” Rankin v. N.Y. Pub. Library, No. 98 Civ. 4821(RPP), 1999 WL 1084224, at *1 (S.D.N.Y. Dec.2, 1999). Moreover, we note, as the District Court did in dicta, that “[f|ibromyalgia has a drug therapy, Lyriea, which is regularly advertised on television alongside drug advertisements for everyday medical conditions such as high cholesterol, frequent urination, osteoporosis, acid reflux, and many other similar conditions.” Matson, *682009 WL 2462513, at *3. We agree with the District Court that “[i]t is not possible to say that these commonly advertised conditions — publicly and regularly targeted by the drug companies — carry a social stigma equivalent to HIV/AIDS [or] transsexualism .... ” Id.
Matson has also failed to allege with specificity facts upon which to base a conclusion that she personally suffered discrimination or intolerance. The allegations of her rejected affidavit that “potential employers, when ‘googling’ [her] name learn that [she] suffer[s] from various ailments,” that she “has suffered a loss of income,” and that the “acts of the Defendants have caused [her] to suffer monetary and psychological damages” are absent from the complaint.
Matson also claims that the defendants disclosed her private medical information for the purpose of “embarrassing” and “humiliating]” her.8 However, as noted above, the SCI has been given specific authority to issue reports of investigations where it would be in the best interest of the school district. Advising the public of the SCI’s efforts to eradicate “fraud, misconduct, conflicts of interest, and other wrongdoing within the New York City school district” certainly is not outside of the Deputy Commissioner’s authority. See The Special Comm’r of Investigation for the New York City Sch. Disk, http://www. nycsci.org (last visited Nov. 19, 2010). Moreover, it is the practice of the SCI to issue public reports of its investigations. In 2005, the year in which Matson’s Report was issued, the SCI publicly released ten other reports based on its investigations. See Reports, The Special Comm’r of Investigation for the New York City Sch. Disk, http://www.nycsci.org (last visited Nov. 30, 2010). Among the reports also issued in 2005 was that of a teacher who was investigated for claiming sick time while, in fact, on a professional wrestling tour in Japan. The SCI separately published a report of a teacher who was investigated for claiming to be on military leave and deployed to New Orleans to provide Hurricane Katrina relief while, in fact, he had traveled to Brazil for personal reasons. Id. The SCI’s frequent public release of its reports suggests that, rather than publishing Matson’s report to embarrass or humiliate her, the SCI published the Report on its website as part of its policy to inform the public of its efforts to investigate instances of fraud within the New York City public school system. In any case, Matson has not alleged that she was, in fact, embarrassed or humiliated, nor has she challenged the SCI’s findings and recommendations.
In an attempt to supplement the record, Matson submitted an affidavit (rejected by the District Court) of a music profession colleague stating that “public dissemination of the Plaintiffs medical condition has a severe impact upon the Plaintiff and the perception of the music world regarding the Plaintiff and possible employment,” and “[a] performing orchestra would shy away from hiring the Plaintiff because the performing orchestra fearing the perceived unreliability of the Plaintiff would loathe to put the Plaintiff in the position of the ‘face’ of said performing orchestra.” However, *69Matson’s complaint contained no specific allegations in this regard, and the District Court properly rejected consideration of the affidavit. See Kopec v. Coughlin, 922 F.2d 152, 154-55 (2d Cir.1991) (explaining that “Rule 12(b) gives district courts two options when matters outside the pleadings are presented in response to a 12(b)(6) motion: the court may exclude the additional material and decide the motion on the complaint alone or it may convert the motion to one for summary judgment”). Moreover, there is not the slightest suggestion in the record that Matson’s fibromyalgia has had any adverse impact on her employment as an orchestra conductor. In fact, the website for the Scandia Symphony boasts that “[i]n the highly competitive world of symphonic conducting, few can claim the success or unique accomplishments of Dorrit Matson, now in her seventeenth season as music director of the Scandia Symphony.” New York Scandia Symphony, http://www.nyscandia. org/about.html (last visited Nov. 19, 2010). The reviews posted on the website give rave reviews of Matson’s work. Reviews, New York Scandia Symphony, http://www. nyscandia.org/page05.html (last visited Nov. 19, 2010). Matson is, indeed, the “face” of the Scandia Symphony. In sum, because Matson’s complaint offered no allegations of societal or actual discrimination, hostility, or intolerance against her based upon her diagnosis, we affirm the judgment of the District Court.
CONCLUSION
Because we determine that Matson’s medical condition does not enjoy a constitutionally-protected right to privacy, we need not reach her other claim, that the District Court erred in finding that the BOE was not a proper party. In accordance with the foregoing, the judgment is affirmed.

. The National Institute of Arthritis and Musculoskeletal and Skin Diseases of the National Institutes of Health, United States Department of Health and Human Services, defines fibromyalgia as “a disorder that causes muscle pain and fatigue.... People with fibromyalgia have 'tender points’ on the body. Tender points are specific places on the neck, shoulders, back, hips, arms, and legs. These points hurt when pressure is put on them.” National Institute of Arthritis and Musculoskeletal and Skin Diseases, Fast Facts About Fibromyalgia (last updated July 2009), available at http://www.niams.nih.gov/health_info/ fibromyaliga_ff.asp. Chronic Fatigue Syndrome, or CFS, and fibromyalgia are often discussed interchangeably although they are distinct medical conditions.


. The Report remains on the SCI's website and is available at: http://www.nycsci.org/ reports/08-05% 20Matson% 20Dorrit% 20Ltr.pdf. References to fibromyalgia and to a recurrent bacterial infection, however, are now redacted from the Report.


. The District Court noted that while Matson alleged that her private medical information was published in New York City area newspapers, her complaint did not attach the newspaper articles or contain quotations from them. However, the court discussed an article about the Report that was published in The New York Times and concluded that the article “focused on Matson's abuse of the sick leave policy, not on the nature of her medical condition." Matson, 2009 WL 2462513, at *2 n. 3.


. Matson notes that the New York State Appellate Division has held that "the City and the Board remain separate legal entities.... The legislative changes do not abrogate the statutory scheme for bringing lawsuits arising out of torts allegedly committed by the Board and its employees, and the City cannot be held liable for those alleged torts.” Perez ex rel. Torres v. City of N.Y., 41 A.D.3d 378, 837 N.Y.S.2d 571, 572 (2007) (citation omitted).


. When a plaintiff does not specifically move for recusal, a judge is obliged to take such action only if circumstances indicate that his "impartiality might reasonably be questioned.” 28 U.S.C. § 455; see United States v. Bayless, 201 F.3d 116, 126-30 (2d Cir.2000) (considering whether a judge should have sua sponte recused himself). Our review in such cases is limited to plain error, see United States v. Carlton, 534 F.3d 97, 100 (2d Cir.2008), which we do not identify here. "Disqualification is not required on the basis of remote, contingent, indirect or speculative interests.” Diamondstone v. Macaluso, 148 F.3d 113, 121 (2d Cir.1998) (internal quotation marks omitted). That the experienced District Judge previously served as Corporation Counsel of the City of New York, and that his niece is employed by the Department of Education, does not constitute a basis for questioning his impartiality. Accordingly, we reject plaintiffs recusal claim.


. We understand that, since our decision in Doe, the prognosis for a person infected with HIV or living with AIDS has improved, given a range of new drug treatments. Nevertheless, that symptoms of HIV and AIDS may now be managed by a variety of treatments does not call into question the seriousness of these medical conditions. The U.S. National Library of Medicine has explained that "[all-most all people infected with HIV, if not treated, will develop AIDS,” and that "there is no cure for AIDS. It is always fatal without treatment.” U.S. Nat’l Library of Med., AIDS: MedlinePlus Medical Encyclopedia (last updated May 25, 2010), http://www.nlm. nih.gov/medlineplus/ency/article/000594.htm (emphasis supplied). Moreover, we adhere to our observation in Doe that a person infected with HIV may face am "unfortunately unfeeling attitude among many in this society” and "expose[] herself not to understanding or compassion but to discrimination and intolerance.” Doe, 15 F.3d at 267.


. The dissent proposes that the "relevant inquiry” in determining whether a constitutional right to privacy exists as to a certain medical condition is "simply whether the information concerns a serious medical condition that is highly personal.” Dissent at 71 (internal citations omitted). We think that more germane to the inquiry is whether disclosure of one's medical condition would bring about public opprobrium and would expose a person to discrimination and intolerance, not simply whether the condition is “highly personal.”


. The dissent highlights the "potentially embarrassing" nature of the "disclosed information” in concluding that fibromyalgia is the type of condition that gives rise to a constitutionally-protected privacy right. Dissent, at 75. We believe that the "potential” for embarrassment is too subjective a standard to support such a conclusion. Indeed, embarrassment is a decidedly personal emotion. While Matson may have found disclosure of her condition to be a source of embarrassment, others in the same position instead may find the Report’s disclosure of an abuse of the DOE's sick leave policy to be the source of embarrassment.

